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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

RONALD CUSSON,

Plaintiff,

v.                                                         Case No. 6:10-cv-1649-Orl-28GJK

PHILLIPS & COHEN ASSOCIATES, LTD, CORP.,

Defendant.
______________________________________/


                                 NOTICE OF SETTLEMENT

         Plaintiff, RONAL CUSSON (hereinafter referred to as “Plaintiff”), through undersigned

counsel, hereby notifies the Court that a settlement has been reached in the instant matter.



Dated: January 7, 2011                        Respectfully submitted,

                                              /s Andrew I. Glenn
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                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 7, 2011, I electronically filed the foregoing

document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is

being served this day on all counsel of record identified on the attached Service List in the

manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

or in some other authorized manner for those counsel or parties who are not authorized to receive

electronically Notices of Filing.



                                              /s Andrew I. Glenn
                                              Andrew I. Glenn




                                         SERVICE LIST


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